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CGFD28 (9/19/08)




ORDERED in the Southern District of Florida on September 24, 2012




                                                                        Robert A Mark
                                                                        United States Bankruptcy Judge



                                         United States Bankruptcy Court
                                                      Southern District of Florida
                                                        www.flsb.uscourts.gov
                                                                                                                 Case Number: 12−24912−RAM
                                                                                                                 Chapter: 7



In re: (Debtor(s) name(s) used by the debtor(s) in the last 8 years, including married, maiden, and trade)
Cesar A Sayoc
18151 NE 31 Ct #2016
Aventura, FL 33160

SSN: xxx−xx−3324




                                                              FINAL DECREE



The trustee, Jacqueline Calderin, having filed a final report that the estate has been fully administered, is
discharged and the case is closed.
